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                                         May 26, 2020



 Magistrate Judge Steven M. Gold
 United States District Court
 Eastern District of New York
 225 Cadman Plaza E
 Brooklyn, New York 11201


        Re: Encarnacion v. BMC Builder Corp., et al., Case No. 19-Cv.-2582 (DLI)(SMG)

 Dear Judge Gold,

        Our office represents Defendants, BMC Builder Corp. and Walter Florentin, in the
 above-referenced matter. The parties have a discovery deadline of today, May 26, 2020.
 Unfortunately, the current pandemic has prevented Defendants from completing Plaintiff’s
 deposition. Similarly, Covid-19 limited my ability to request this extension sooner.

         The Defendants request a 30-day extension of the discovery deadline to June 26, 2020,
 within which to complete Plaintiff’s deposition. This is the Defendants’ second request for an
 extension of the discovery deadline. Plaintiff’s counsel has been consulted and does not oppose
 this request.

        Thank you for your consideration.

                                                     Very truly yours,


                                                     _/s/ Maritn E. Restituyo___
                                                     Martin E. Restituyo, Esq.
